               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
________________________________________________
UNITED STATES OF AMERICA, ex rel.,               )
STATE OF ALASKA, ex rel.,                        )
STATE OF CALIFORNIA, ex rel.,                    )
STATE OF COLORADO, ex rel.,                      )
STATE OF CONNECTICUT, ex rel.,                   )
STATE OF DELAWARE, ex rel.,                      ) CASE NO.: 18-cv-489
DISTRICT OF COLUMBIA, ex rel.,                   )
STATE OF FLORIDA, ex rel.,                       )
STATE OF GEORGIA, ex rel.,                       )
STATE OF HAWAII, ex rel.,                        )
STATE OF ILLINOIS, ex rel.,                      )
STATE OF INDIANA, ex rel.,                       )
STATE OF IOWA, ex rel.,                          )
STATE OF LOUISIANA, ex rel.,                     )
STATE OF MARYLAND, ex rel.,                      )
COMMONWEALTH OF MASSACHUSETTS, ex rel.,          )
STATE OF MICHIGAN, ex rel.,                      )
STATE OF MINNESOTA, ex rel.,                     )
STATE OF MONTANA, ex rel.,                       )
STATE OF NEVADA, ex rel.,                        )
STATE OF NEW JERSEY, ex rel.,                    )
STATE OF NEW MEXICO, ex rel.,                    )
STATE OF NEW YORK, ex rel.,                      )
STATE OF NORTH CAROLINA, ex rel.,                )
STATE OF OKLAHOMA, ex rel.,                      )
STATE OF RHODE ISLAND, ex rel.,                  )
STATE OF TENNESSEE, ex rel.,                     )
STATE OF TEXAS, ex rel.,                         )
STATE OF VERMONT ex rel.,                        )
COMMONWEALTH OF VIRGINIA, ex rel.,               )
STATE OF WASHINGTON, ex rel.,                    )
CITY OF PHILADELPHIA, PENNSYLVANIA ex rel.,      )
COUNTY OF ALLEGHENY, PENNSYLVANIA ex rel.        )
                                                 )
RICHARD HUFF                                     )
                                                 )
                        Plaintiff-Relator,       )
                                                 )
                                                 )




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                                   v.            )
                                                 )
COMFORTLAND MEDICAL, INC.,                       )
COMFORTLAND MEDICAL, LLC, DR. DAVID TSUI,        )
and LOIS TSUI,                                   )
                                                 )
                      Defendants.                )
________________________________________________ )

           UNITED STATES’ NOTICE OF CONSENT TO DISMISSAL

       On June 21, 2019, Relator Richard A. Huff filed a Notice of Voluntary Dismissal

Without Prejudice of this action. Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(1),

the United States hereby notifies the Court that the Attorney General consents to the

dismissal of this action without prejudice to the rights of the United States, based on its

determination that such a dismissal is commensurate with the public interest and that the

matter does not warrant the continued expenditure of government resources to pursue or

monitor the action based on currently available information.

       Dated: June 21, 2019
                                          Respectfully submitted,

                                          MATTHEW G.T. MARTIN
                                          United States Attorney

                                           /s/ Cassie Crawford
                                          Cheryl T. Sloan, NCSB #12557
                                          Assistant U.S. Attorney
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                             CERTIFICATE OF SERVICE


       I certify that on this date I served a copy of the foregoing Notice of Consent to

Dismissal which was electronically filed with the Clerk of Court using the CM/ECF

system, which will send notification of the filing to the following individuals:

              Charles H. Rabon, Jr.:

              crabon@usfraudattorneys.com,rfreiert@usfraudattorneys.com

       I have also served a copy of this filing via electronic mail (by consent) to Lareena

J. Phillips, at lphillips@ncdoj.gov.



                                           /s/ Cassie Crawford
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